 1                                                                The Honorable Mary Jo Heston
 2                                                                   Hearing Date: July 16, 2019
 3                                                                        Hearing Time: 1:00 pm
 4                                                                Location: Tacoma, Washington
 5                                                                   Response Date: July 9, 2019
 6
 7                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 8                  WESTERN DISTRICT OF WASHINGTON AT TACOMA
 9
10    In Re:
11                                                     Case No. 18-40496-MJH
12                                                     Chapter 13
13   JENIFER LEE CAREY
14   MARIO DARREN CAREY
15                                                    NOTICE OF HEARING
16                                                    APPLICATION FOR
17               Debtors                              ATTORNEY COMPENSATION
18
19
20    _______________________________________
21
22                                             NOTICE
23
24    PLEASE TAKE NOTICE that the above-referenced motion in a Chapter 13 Cases IS SET
25     FOR HEARING as follows:
26
27    JUDGE:     MARY JO HESTON                              TIME: 1:00 PM
28
29    PLACE: United States Bankruptcy Court                  DATE: July 16, 2019
30           1717 Pacific Ave Courtroom H
31           Tacoma, WA 98402
32
33     IF YOU OPPOSE the motion you must file your written response with the court clerk, serve
34     two copes on the Judge’s chambers and deliver copies to the undersigned and all interested
35     parties NOT LATER THAN THE RESPONSE DATE, which is July 9, 2019
36
37     IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
38     GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and
39     strike the hearing.
40
41
42


                                                                         BROWN and SEELYE, PLLC
                                                                                 Attorneys at Law
                                                                                      744 South Fawcett
                                                                                    Tacoma, WA 98402
                                                                                          253.573.1958
                                                                          Toll Free Fax 1-866-422-6196
 1
 2   July 1, 2019
 3

 4   /s/ Ellen Ann Brown
 5   Ellen Ann Brown, WSB 27992
 6
 7                               CERTIFICATE OF MAILING
 8
 9   I declare under penalty of perjury of the laws of the State of Washington as follows:
10
11   I, Ellen Ann Brown, electronically mailed a true and correct copy of the Notice of
12   Hearing and this Certificate by US Mail postage prepaid to all parties on the ecf mailing
13   matrix, to the debtor(s), and electronically to the following:
14
15   Chapter 13 Trustee
16   U.S. Trustee’s Office
17
18
19   Dated July 1, 2019
20
21   /s/ Ellen Ann Brown
22   Ellen Ann Brown
23   Attorney at Law
24

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28




                                                                      BROWN and SEELYE, PLLC
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